      Case 3:13-cr-00034-MCR-EMT         Document 328        Filed 04/15/14       Page 1 of 1

                                                                                         Page 1 of 1


                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                 Case Nos.:     3:13cr34/RV/EMT
                                                                   3:14cv15/RV/EMT
JAMES E. ATIABI
____________________________/
                                          ORDER
        This cause comes on for consideration upon the magistrate judge’s Report and
Recommendation dated March 12, 2014 (doc. 324). Defendant has been furnished a copy of the
Report and Recommendation and has been afforded an opportunity to file objections pursuant to
Title 28, United States Code, Section 636(b)(1). No objections have been filed.
        Having considered the Report and Recommendation, I have determined that the Report and
Recommendation should be adopted.
        Accordingly, it is now ORDERED as follows:
        1.     The magistrate judge’s Report and Recommendation is adopted and incorporated by
reference in this order.
        2.     The motion to voluntarily dismiss Defendant’s pending motion to vacate, set aside,
or correct sentence (doc. 323) is GRANTED.
        3.     Defendant’s motion to vacate, set aside or correct sentence (doc. 316) is
DISMISSED without prejudice.
        DONE AND ORDERED this 15th day of April, 2014.



                                            /s/ Roger Vinson
                                            ROGER VINSON
                                            SENIOR UNITED STATES DISTRICT JUDGE
